F. #2016R00467
                                             IRIZARRY
UMTED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                                       GOLD, M.J. * OCT - 3 20t8 -A
        -                  -            X
                                                                         BROOKLYN OFFICE
UNITED STATES OF AMERICA                               INDICTMENT


            - against -                                     [o.
                                                                  Bssr

                                                       (T. 18, U.S.C., §§ 371, 98na)CU((
LOWTAEKJHO,                                             982(a)(1), 982(b), 1956(h)and 3551
     also known as "Jho Low," and                              T. 21,U.S.C.,§ 853(p); T. 28,
NG CHONG HWA,                                           U.S.C., § 2461(c))
       also known as "Roger Ng,"

                      Defendants.


                                        X


THE GRAND JURY CHARGES:


               At all times relevant to this Indictment, unless otherwise indicated:

1.     The Defendants

                I.    LOW TAEK JHO,also known as "Jho Low,"("LOW" or"JHO

LOW")was a Malaysian national who advised on the creation ofTerengganu Investment

Authority("TIA"),the predecessor entity to 1Malaysia Development Berhad("IMDB"),

Malaysia's state-owned and state-controlled investment development company. LOW

worked as an intermediary in relation to IMDB and other foreign government officials on

numerous financial transactions and projects involving U.S. Financial Institution #1 ^ and

others,though he did not hold a formal position at IMDB nor was he ever employed by the

Governments of Malaysia or Abu Dhabi.




^      The identity of U.S. Financial Institution #1 and all other anonymized entities and
individuals discussed herein are known to the Grand Jury.
                2.    NG CHONG HWA,also known as "Roger Ng,"("NG" or"ROGER

NG")was a Malaysian national who was employed as a Managing Director by various

subsidiaries, and acted as an agent and employee, of U.S. Financial Institution #1. NG

worked with Co-Conspirator #1 at U.S. Financial Institution #1 from approximately 2005 to

May 2014. NG was thus an "employee" and "agent" of an "issuer" within the meaning of

the Foreign Corrupt Practices Act("FCPA"),Title 15, United States Code, Section 78dd-

1(a).

n.      Relevant Entities and Individuals

        A.     U.S. Financial Institution #1

               3.     U.S. Financial Institution #1 was a global investment banking, securities

and investment management firm incorporated in Delaware and headquartered in New York,

New York. It conducted its activities primarily through various subsidiaries and affiliates

(collectively "U.S. Financial Institution #1"), including those that employed the defendant

ROGER NG and some of his co-conspirators, including Co-Conspirator #1. U.S. Financial

Institution #1 had a class of securities registered pursuant to Section 12 ofthe Securities and

Exchange Act of 1934 (Title 15, United States Code, Section 78)(the "Exchange Act") and

was required to file reports with the U.S. Securities and Exchange Commission under Section

15(d) ofthe Exchange Act(Title 15, United States Code,Section 78o(d)). As such, U.S.

Financial Institution #1 was an "issuer" within the meaning ofthe FCPA,Title 15, United

States Code, Section 78dd-l(a).
       B.     IMDB and Other Relevant Entities

              4.      IMDB was a strategic investment and development company wholly

owned and controlled by the Government of Malaysia through its Ministry ofFinance

("MOF"). It was formed in or around 2009, when the Malaysian government took federal

control of TIA, which had previously been the sovereign wealth fund ofthe state of

Terengganu in Malaysia. IMDB was created to pursue investment and development

projects for the economic benefit of Malaysia and its people, primarily relying on debt to

fund these investments. IMDB's development projects were focused in the areas of energy,

real estate, tourism and agribusiness. IMDB was overseen by senior Malaysian government

officials, was controlled by the Government of Malaysia and performed a government

fimction on behalf of Malaysia. Malaysian Official #1,further described below, was a high-

ranking official in the Malaysian government and the MOF with high-level authority to,

among other things, approve and influence IMDB business decisions. IMDB was thus an

"instrumentality" of a foreign government within the meaning ofthe FCPA,Title 15, United

States Code, Sections 78dd-1(f)(1)(A) and 78dd-3(f)(2)(A).

              5.     Foreign Agency A was an investment fund wholly owned by the

Government of Abu Dhabi. It was established by the Government of Abu Dhabi pursuant to

an Emiri Decree in or around 1984, with a mandate to advance Abu Dhabi's natural

petroleum wealth for the development ofthe emirate. Foreign Agency A was overseen by

senior Abu Dhabi government officials, was controlled by the Government of Abu Dhabi,

which appointed all the members ofForeign Agency A's board of directors, and performed a

government function on behalf of Abu Dhabi. Foreign Agency A was thus an
"instrumentality" of a foreign government within the meaning ofthe FCPA,Title 15, United

States Code, Sections 78dd-1(f)(1)(A) and 78dd-3(f)(2)(A).

              6.      Foreign Investment Firm A,a subsidiary of Foreign Agency A,was a

private joint stock company incorporated under the laws of Abu Dhabi.

       C.     Other Relevant Individuals

              7.      Between in or around 1998 and in or around February 2016, Co-

Conspirator #1 was employed by various subsidiaries, and acted as an agent and employee,

of U.S. Financial Institution #1. Prior to his separation from U.S. Financial Institution #1 in

or around February 2016, Co-Conspirator #1 was the Southeast Asia Chairman and a

Participating Managing Director of U.S. Financial Institution #1. Co-Conspirator #1 was an

"employee" and "agent" of an "issuer" within the meaning ofthe FCPA,Title 15, United

States Code,Section 78dd-l(a).

              8.      Co-Conspirator #2 was a U.S. citizen who was a high-ranking official

ofForeign Investment Firm A from at least in or around 2012 until in or around 2014.

              9.      Co-Conspirator #3 was a Malaysian national who was a close relative

of Malaysian Official #1 and owned U.S. Motion Picture Company #1, a U.S. legal entity in

the business offilm production.

       D.     Foreign Government Officials

              10.    IMDB Official #1 was a high-ranking official at IMDB from at least in

or around 2012 until in or around 2014. IMDB Official #1 was thus a "foreign official"

within the meaning ofthe FCPA,Title 15, United States Code,Sections 78dd-1(f)(1)(A) and

78dd-3(f)(2)(A). IMDB Official #1 served as one ofthe principal points of contact between

IMDB and U.S. Financial Institution #1 in connection with IMDB business.
              11.    IMDB Official #2 was a high-ranking official of IMDB from at least in

or around 2012 until in or around 2014. IMDB Official #2 was thus a "foreign official"

within the meaning ofthe FCPA,Title 15, United States Code, Sections 78dd-1(f)(1)(A) and

78dd-3(f)(2)(A).

              12.    IMDB Official #3 was a high-ranking official at IMDB from at least in

or around 2012 until in or around 2014. IMDB Official #3 was thus a "foreign official"

within the meaning ofthe FCPA,Title 15, United States Code, Sections 78dd-1(f)(1)(A) and

78dd-3(f)(2)(A). IMDB Official #3 served as one ofthe principal points ofcontact between

IMDB and U.S. Financial Institution #1 in connection with IMDB business.

              13.    Malaysian Official #1 was a Malaysian national and high-ranking

official in the Malaysian government and the MOF from in or around at least 2009 until in or

around 2018, with high-level authority to approve IMDB business decisions. Malaysian

Official #1 was thus a "foreign official" within the meaning ofthe FCPA,Title 15, United

States Code,Sections 78dd-l(f)(1)(A) and 78dd-3(f)(2)(A).

              14.    Abu Dhabi Official #1 was a high-ranking official of Foreign Agency

A between at least in or around 2012 until in or around 2014, and a high-ranking official of

Foreign Investment Firm A. Abu Dhabi Official #1 was thus a "foreign official" within the

meaning of the FCPA,Title 15, United States Code, Sections 78dd-1(f)(1)(A) and 78dd-

3(f)(2)(A).

III.   The Criminal Scheme

       A.     Overview

              15.    IMDB was created to pursue investment and development projects for

the economic benefit of Malaysia and its people. However, between approximately 2009
and 2014, billions of dollars were misappropriated and fraudulently diverted from IMDB

through various means, in part for the purpose of paying bribes to foreign officials. The

defendants JHO LOW,ROGER NO,Co-Conspirator #1 and others conspired to launder the

proceeds ofthat criminal conduct in and through the U.S. financial system. These laundered

funds were used, in among other ways,to pay bribes to obtain and retain business for U.S.

Financial Institution #1, and for the personal benefit ofthe co-conspirators and their relatives

and associates, including, among other things, for the purchase ofluxury residential real

estate in the United States and artwork from an auction house in New York, New York, and

the funding of major Hollywood films.

               16.    The defendants JHO LOW and ROGER NG,while NG was acting

within the scope of his employment as an agent of U.S. Financial Institution #1, with the

intent, at least in part, to benefit U.S. Financial Institution #1,together with others, conspired

to obtain and retain business from IMDB for U.S. Financial Institution #1 through the

promise and payment of bribes to government officials in Malaysia and Abu Dhabi. LOW

and NG,Co-Conspirator #1 and others also conspired to launder funds embezzled from

IMDB,some of which were used to pay bribes to government officials in Malaysia and Abu

Dhabi,through financial systems in the United States and elsewhere. As part ofthe scheme,

LOW,NG,Co-Conspirator #1 and others used LOW's close personal relationships with

government officials in Abu Dhabi and Malaysia, including LOW's relationship with

Malaysian Official #1,to obtain and retain IMDB business for U.S. Financial Institution #1

through the promise and payment of bribes to these government officials.

               17.    In the course ofthe scheme,the defendants JHO LOW and ROGER

NG,Co-Conspirator #1 and others obtained and retained IMDB business for U.S. Financial
Institution #1,including three bond offerings that raised a total of approximately $6.5 billion

for IMDB in 2012 and 2013. These three bond offerings and related transactions ultimately

earned U.S. Financial Institution #1 approximately $600 million in fees and revenue and

resulted in NG,Co-Conspirator #1 and others receiving large bonuses from U.S. Financial

Institution #1 and enhancing their professional reputations at U.S. Financial Institution #1.

               18.    Although the stated purpose ofthe approximately $6.5 billion raised by

the three bond transactions was to support IMDB projects for the benefit ofthe Malaysian

people, more than $2.7 billion was instead misappropriated by the defendants JHO LOW,

ROGER NG and others and distributed, in part, as bribes and kickbacks to government

officials in Malaysia and Abu Dhabi,including IMDB Official #1, IMDB Official #2,

IMDB Official #3, Malaysian Official #1 and Abu Dhabi Official #1 and their families,

including Co-Conspirator #3, as well as to other co-conspirators, including NG,LOW,Co-

Conspirator #1 and their families.

              19.     In order to get the deals, the defendant ROGER NG also conspired with

other employees and agents of U.S. Financial Institution #1,including Co-Conspirator #1,to

knowingly and willfully circumvent the internal accounting controls of U.S. Financial

Institution #1 in connection with the three IMDB bond transactions and other IMDB

business. U.S. Financial Institution #1's internal accounting controls were overseen and

enforced by its compliance function (the "Compliance Group")and part ofits legal

department, referred to internally as the "Business Intelligence Group"(the "Intelligence

Group"). These groups worked in conjunction with, and as part of, various committees in

reviewing transactions, including the three IMDB bond deals, for approval. However,the

business culture at U.S. Financial Institution #1, particularly in Southeast Asia, was highly
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focused on consummating deals, at times prioritizing this goal ahead ofthe proper operation

ofits compliance functions.

               20.    The defendant ROGER NG,Co-Conspirator #1 and other employees

and agents of U.S. Financial Institution #1 knew that the defendant JHO LOW played a

central role in the bond transactions, including by acting as an intermediary between U.S.

Financial Institution #1, IMDB and other Malaysian and Abu Dhabi government officials.

NG,Co-Conspirator #1 and other employees and agents of U.S. Financial Institution #1 also

knew that bribes had been promised to these officials to secure IMDB business for U.S.

Financial Institution #1. NG,Co-Conspirator #1 and other employees and agents ofU.S.

Financial Institution #1 conspired to conceal that and other information from U.S. Financial

Institution #rs Compliance Group and Intelligence Group to prevent those groups from

attempting to stop U.S. Financial Institution #1 from participating in the lucrative

transactions. Based on, among other things, their experience at U.S. Financial Institution #1

and in the region, the willingness of co-conspirators and colleagues to assist them,the high

fees that the IMDB deals would generate for U.S. Financial Institution #1 ifthe deals were

successful, and a system ofinternal accounting controls at U.S. Financial Institution #1 that

could be easily circumvented, NG,Co-Conspirator #1 and others believed that they would

have, and they in fact did have,repeated success in concealing LOW's involvement from,

and pushing these deals through, U.S. Financial Institution #rs control functions to obtain

very lucrative business for U.S. Financial Institution #1, themselves and others.
       B.      The Defendant ROGER NG and Co-Conspirator #1 Began to Conspire to
               Circumvent U.S. Financial Institution #Vs Internal Accounting Controls and
               Win Business for U.S. Financial Institution #1

               21.     Beginning in or around 2009,the defendant ROGER NG began to

conspire with Co-Conspirator #1 and others to circumvent U.S. Financial Institution #1's

internal accounting controls and win business for U.S. Financial Institution #1. At the time,

NG and Co-Conspirator #1 were both agents acting within the scope oftheir emplo3mient on

behalf of U.S. Financial Institution #1, with the intent, at least in part, to benefit U.S.

Financial Institution #1, and they collaborated on the creation of, and potential fiindraising

for, TIA, while knowing that the defendant JHO LOW was an adviser for TLA. While

working on this deal, NG and Co-Conspirator #1 selectively disclosed to other employees of

U.S. Financial Institution #1 that they were working with LOW as an intermediary to secure

the deal, because they knew that disclosure more widely could have triggered steps to be

taken by certain personnel within the Compliance Group and the Intelligence Group to

investigate the business relationship with LOW and possibly jeopardize the deal.

               22.    During the course ofthe TIA transaction and afterwards, the defendants

JHO LOW and ROGER NG conspired with Co-Conspirator #I and others to develop

business for U.S. Financial Institution #1,including with TIA's successor entity, IMDB.

Notwithstanding LOW's public denials about any involvement with IMDB during this time,

NG,Co-Conspirator #1 and other employees and agents of U.S. Financial Institution #1

knew that LOW remained close to various IMDB officials and govemment officials in Abu

Dhabi and Malaysia, including Malaysian Official #1, and worked with him for that reason.

During the course of his work with NG and Co-Conspirator #1,LOW also specifically

requested that NG,Co-Conspirator #1 and others conceal his involvement in IMDB and U.S.
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Financial Institution #1's business, and NG,Co-Conspirator #1 and others continued to

conspire to conceal LOW's involvement in their efforts to obtain and retain IMDB business

for U.S. Financial Institution #1 from the Compliance Group and the Intelligence Group.

              23.     Between in or aroimd September 2009 and in or aroimd March 2011,

the defendant ROGER NG,Co-Conspirator #1 and others supported at least three attempts to

make the defendant JHO LOW a formal client of U.S. Financial Institution #1. NG and Co-

Conspirator #1 supported these efforts because, in part, they believed that LOW would work

to deliver lucrative business deals, including from IMDB,for the ultimate benefit of U.S.

Financial Institution #1, NG,Co-Conspirator #1 and others. Ultimately, these attempts were

unsuccessful because certain personnel at U.S. Financial Institution #1 within the

Compliance Group and the Intelligence Group refused to approve the business relationship

between LOW and U.S. Financial Institution #1 based, in part, on concerns that they had

about the source ofLOW's wealth. Personnel within the Compliance Group and the

Intelligence Group communicated the rejection of LOW's application to U.S. Financial

Institution #1 to NG,Co-Conspirator #1 and others. Notwithstanding their knowledge about

the concerns that had been raised by the Compliance Group and the Intelligence Group about

LOW not being a suitable client for U.S. Financial Institution #1,NG and other employees

and agents of U.S. Financial Institution #1,including Co-Conspirator #1,continued to

conspire with LOW based upon their beliefthat LOW would help ensure that government

officials within Malaysia, including at IMDB,and within Abu Dhabi would deliver lucrative

business deals to U.S. Financial Institution #1.
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       C.      The Defendants JHO LOW and ROGER NG.Together with Others. Won
               Business for U.S. Financial Institution #1 Through the Payment ofBribes and
               Kickbacks

              24.     Throughout approximately 2012 and 2014,the defendants JHO LOW

and ROGER NO conspired with Co-Conspirator #1 and others with the intent, at least in part,

to obtain and retain business from IMDB for the benefit of U.S. Financial Institution #1

through the promise and payment of bribes to government officials in Malaysia and Abu

Dhabi using, in part, funds misappropriated and embezzled from the IMDB bond

transactions. During this time, and through the course ofthe scheme,LOW,NO,Co-

Conspirator #1 and others laundered hundreds of millions of dollars in funds misappropriated

and embezzled from IMDB and used some ofthose funds to pay millions of dollars in bribes

to government officials to obtain IMDB business for U.S. Financial Institution #1,in

particular, three bond offering transactions underwritten by U.S. Financial Institution #1 for

IMDB referred to as "Project Magnolia,""Project Maximus" and "Project Catalyze."

                                  PROJECT MAGNOLIA

              25.     On or about January 23, 2012,the defendant JHO LOW sent an email

to the defendant ROGERNG,Co-Conspirator #1 and a high-ranking IMDB official to

introduce NG and Co-Conspirator #1 to the high-ranking IMDB official for purposes of

discussing the purchase of an asset by IMDB. In the email,LOW stated,"[pjlease exclude

me from the email list going forward."

              26.    In or around early 2012,the defendants JHO LOW and ROGER NG

met in Malaysia with Co-Conspirator #1,IMDB Official #1, IMDB Official #3 and others.

The purpose ofthe meeting was to discuss IMDB's proposed purchase of a Malaysian energy

company("Malaysian Energy Company A"), and U.S. Financial Institution #l's ability to
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assist in obtaining financing for the purchase, among other things. During that meeting, NG,

Co-Conspirator #1 and others discussed with LOW,among other things,the type of guarantee

that IMDB needed to obtain to make the bond issuance acceptable to U.S. Financial

Institution #1 and ultimately agreed on the suitability ofa guarantee from Foreign Agency A.

NG,Co-Conspirator #1 and others understood that LOW was acting as an intermediary

between IMDB,Malaysian Official #1 and other government officials fi:om Abu Dhabi.

              27.    In or around late February 2012,the defendants JHO LOW and ROGER

NG,Co-Conspirator #1,IMDB Official #3 and others met in London to discuss the proposed

financing. During this meeting,LOW explained that to obtain the necessary support for the

financing and the guarantee firom Foreign Agency A discussed at the prior meeting with NG,

Co-Conspirator #1 and others they would have to pay bribes to government officials in

Malaysia and Abu Dhabi,including to Malaysian Official #1 and a high-ranking Abu Dhabi

government official, to gain their approval for portions ofthe transaction. After the meeting,

it was understood that U.S. Financial Institution #1 would be engaged by IMDB to act as an

adviser and arrange the purchase and financing of Malaysian Energy Company A.

              28.    Following the February 2012 meeting,the defendant ROGER NG told

another employee of U.S. Financial Institution #1 about the plan to pay bribes to government

officials in Malaysia and Abu Dhabi. NG understood and agreed with Co-Conspirator #1

and other employees and agents of U.S. Financial Institution #1 not to disclose this

information to personnel within the Compliance Group,the Intelligence Group or the

committees within U.S. Financial Institution #1 that would review this proposed bond

issuance and other IMDB transactions.
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              29.     In or around March 2012, IMDB selected U.S. Financial

Institution #1 to be the sole bookrunner and arranger for the $1.75 billion bond deal,

guaranteed by Foreign Agency A,and designed,in part, to pay for the acquisition of

Malaysian Energy Company A. This transaction was referred to internally at U.S. Financial

Institution #1 as "Project Magnolia."

              30.    Following U.S. Financial Institution #1's formal engagement to work on

Project Magnolia,the defendant ROGER NG continued to conspire with Co-Conspirator #1

and others, including other employees and agents of U.S. Financial Institution #1,to work

with the defendant JHO LOW on the transaction.


              31.    In or around early March 2012,the defendants JHO LOW and ROGER

NG,Co-Conspirator #1, various IMDB officials and others traveled to Abu Dhabi for

meetings with officials ofForeign Agency A and Foreign Investment Firm A to discuss the

guarantee for Project Magnolia. Throughout that time, NG knew that LOW arranged the

meetings with the officials ofForeign Agency A and Foreign Investment Firm A,and that

some ofthese officials, among others, would be paid bribes by LOW,or at his direction, to

influence the approval ofthe guarantee.

              32.    During this same time, in an effort to win and retain the bond deal to

finance the purchase of Malaysian Energy Company A,the defendant JHO LOW also enlisted

the assistance of various IMDB officials with the promise of remuneration. For example, on

or about March 8, 2012, IMDB Official #1 and LOW discussed IMDB's acquisition of

Malaysian Energy Company A via an online chat, during which chat LOW stated he would

"[g]ive[IMDB Official #1] big present" when the transaction was done. In the same chat,

LOW further instructed IMDB Official #1 to delete at least one email and other documents he
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had sent to IMDB Official #1, and stated "delete from email and destroy once done."

Additionally,LOW informed Co-Conspirator #1 that IMDB Official #3 was being paid a

bribe for her assistance in obtaining and retaining the bond deal.

              33.     The defendants JHO LOW and ROGER NO,Co-Conspirator #1 and

others also knew that LOW intended to use funds misappropriated from IMDB's bond deal

to pay and cause to be paid bribes to foreign officials in Malaysia and Abu Dhabi to

influence those officials to obtain the necessary approvals and any additional assistance to

execute Project Magnolia for U.S. Financial Institution #1.

              34.    In or around the end of May 2012, near the closing ofProject

Magnolia,the defendants JHO LOW and ROGER NG continued to conspire with Co-

Conspirator #1 and others to divert some ofthe funds from Project Magnolia into the bank

accoimts of shell companies that NG,LOW,Co-Conspirator #1 and others beneficially

owned and controlled. At this time, NG,LOW and Co-Conspirator #1 expected to keep

some ofthe diverted funds for their personal use, and understood that other Project Magnolia

funds would be used to pay bribes to government officials in Malaysia and Abu Dhabi and

elsewhere in exchange for their assistance in obtaining and retaining business for U.S.

Financial Institution #1 with respect to the execution ofthe bond transaction and the

purchase of Malaysian Energy Company A.

              35.    On or about May 20, 2012, Co-Conspirator #1 sent an email asking his

close relative for the accoxmt details for a bank account in the name of Holding Company #1

("Holding Company #1 Account"). Holding Company #1 was a shell company incorporated

in the British Virgin Islands that was owned by this close relative of Co-Conspirator #1 and

was controlled by both Co-Conspirator #1 and his close relative. Co-Conspirator #1 wrote.
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"[b]est ifthey are US$ accounts. We should also tell the bank that we will receive a

transfer."


               36.    On or about May 21,2012,the bond deal known as Project Magnolia

closed, earning significant fees for U.S. Financial Institution #1, and resulting in large year-

end bonuses paid by U.S. Financial Institution #1 to the defendant ROGER NG,Co-

Conspirator #1 and other employees and agents of U.S. Financial Institution #1 who

participated in obtaining and structuring the bond deal. NG and other employees and agents

of U.S. Financial Institution #1 intentionally structured Project Magnolia, and future

transactions, as bond deals rather than other forms offinancing, because doing so generated

much higher revenues and fees for U.S. Financial Institution #1,improved the bank's

reputational standing in both the Southeast Asia region and globally and provided NG and

other bankers with increased remuneration and professional prestige, even though the bond

financing was more expensive for IMDB.

               37.    U.S. Financial Institution #1 transferred part ofthe proceeds ofthe

Project Magnolia bond offering via wire to IMDB's wholly-owned subsidiary,from a place

within the United States to and through a place outside ofthe United States, including

through the Eastern District ofNew York. At the time, the defendants JHO LOW and

ROGER NG,Co-Conspirator #1 and others knew that a large portion ofthe proceeds ofthe

bond would be diverted to themselves and others, including foreign government officials,

through shell companies beneficially owned and controlled by themselves and others.

               38.    On or about May 22,2012, approximately $577 million ofthe bond

proceeds were transferred from the account of IMDB's wholly-owned subsidiary to Shell

Company Account #1, an account at Foreign Financial Institution A in the name ofa
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company incorporated in the British Virgin Islands with a name similar to Foreign

Investment Firm A,but which was not in fact associated with Foreign Investment Firm A.

Although the signatories on Shell Company Account #1 were Abu Dhabi Official #1 and

Co-Conspirator #2,the defendant JHO LOW and another co-conspirator controlled Shell

Company Accoimt #1.

             39.     On or about May 25,2012, approximately $295 million was transferred

via wire from Shell Company Account #1 to an account at a foreign bank in the name of a

shell company beneficially owned and controlled by the defendant JHO LOW and a co-

conspirator ("Shell Company Account #2").

              40.    Within three months ofthe closing ofProject Magnolia, millions of

dollars of bond proceeds that had been transferred to Shell Company Account #2 were

transferred into Holding Company #1 Account, and these funds were transferred via wire to

and firom the United States. Approximately $24 million ofthese funds was subsequently

transferred to a bank account beneficially owned by a relative ofthe defendant ROGER NO.

              41.    Within one month ofthe closing ofProject Magnolia, approximately

$133 million ofthe bond proceeds that had been funneled into Shell Company Account #1

was then transferred to an account at Foreign Financial Institution A opened in the name of a

company incorporated in the British Virgin Islands and beneficially owned and controlled by

Co-Conspirator #3, a close relative of Malaysian Official #1 ("Shell Company Account #3").

Between on or about June 20,2012 and November 20,2012,11 wires totaling approximately

$60 million was then transferred from Shell Company Account #3 to Holding Account #2, an

account at U.S. Financial Institution #2 in Los Angeles, California. Holding Account #2 is

owned and controlled by U.S. Motion Picture Company #1, a U.S. legal entity owned in part
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by Co-Conspirator #3 whose funds, among other things, were used to assist in the production

ofthe film "The Wolfof Wall Street."


                                    PROJECT MAXIMUS

                  42.   In or about May 2012,the defendants JHO LOW and ROGER NO,Co-

Conspirator #1 and others began to plan a second bond transaction, known internally at U.S.

Financial Institution #1 as "Project Maximus," which was designed,in part, to raise capital for

IMDB to purchase a second Malaysian power generation company. LOW,NO,Co-

Conspirator #1 and others knew that LOW and others would and did pay bribes to influence

Malaysian and Abu Dhabi officials to obtain the necessary approvals to execute the bond

offering. IMDB also awarded this bond offering, which was structured similarly to the first

bond issuance, but with an indirect guarantee from Foreign Agency A,to U.S. Financial

Institution #1.


              43.       As with Project Magnolia, while the defendant ROGER NG,

Co-Conspirator #1 and other employees and agents of U.S. Financial Institution #1 continued

to work with the defendant JHO LOW to acquire this business for U.S. Financial Institution

#1 and to execute the second bond issuance, they concealed LOW's involvement in the

transaction from the Compliance Group and the Intelligence Group at U.S. Financial

Institution #1 for the same reasons that they concealed his involvement with Project

Magnolia.

              44.       The defendants JHO LOW and ROGER NG,Co-Conspirator #1 and

others knew that a large portion ofthe proceeds ofProject Maximus would be illegally

diverted to themselves and others, including foreign government officials, through shell

companies beneficially owned and controlled by themselves and others. NG knew at the
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time that Malaysian Official #1, Abu Dhabi government officials and IMDB officials,

among others, would receive money from the proceeds ofProject Maximus that passed

through bank accounts of various shell companies beneficially owned and controlled by

LOW and others, including Co-Conspirator #1 and his close relative, to influence those

officials to execute the bond with U.S. Financial Institution #1. In fact, NG provided

direction to Co-Conspirator #Us close relative regarding the transfer ofsome ofthese funds.

Abu Dhabi Official #1 and Co-Conspirator #3,among others,received some ofthe funds

traceable to the Project Maximus bond issuance.

              45.    Project Maximus closed on or about October 17,2012,raising

approximately $1.75 billion for a IMDB wholly-owned subsidiary, and resulting in

substantial revenues and other fees for U.S. Financial Institution #1. U.S. Financial

Institution #1 transferred part ofthe proceeds ofProject Maximus via wire to the subsidiary

of IMDB from a place within the United States to and through a place outside ofthe United

States, including through the Eastern District of New York. Thereafter, some ofthe

proceeds from the bond offering were diverted and transferred via wire to a place in the

United States from and through a place outside ofthe United States, and from a place in the

United States to and through a place outside ofthe United States, including through the

Eastern District of New York.

              46.    On or about October 19, 2012,two days after Project Maximus closed,

approximately $790 million ofthe proceeds ofthe bond was transferred to and through a

series of shell company accounts beneficially owned and controlled by the defendant JHO

LOW and a co-conspirator. Some ofthese funds were later transferred to Holding Company
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#1 Account and the accounts of Malaysian and Abu Dhabi officials, including various IMDB

officials.


              47.    Within one week ofProject Maximus closing, approximately $60

million ofthe bond proceeds was transferred to Shell Company Account #3. On or about

November 14,2012, an additional approximately $45 million of bond proceeds was

transferred to Shell Company Account #3. Within approximately one day ofthe November

14,2012 transfer, approximately $35.8 million was transferred from Shell Company

Account #3 to U.S. Law Firm Account #1, owned and controlled by U.S. Law Firm #1 based

in New York,New York. Nearly all ofthese funds were then transferred approximately

four days later to U.S. Law Firm Account #2, owned and controlled by U.S. Law Firm #2

based in New York,New York. These funds were used by Co-Conspirator #3 to acquire a

condominium in New York, New York that was beneficially owned by the defendant JHO

LOW.


              48.    Between on or about May 29,2012 and November 30, 2012,the

defendant JHO LOW and others also caused the transfers via wire of approximately

$472,750,000 traceable to the Project Magnolia and Project Maximus bond proceeds from

Shell Company Account #2 to an account at Foreign Financial Institution B in the name of a

company beneficially owned by Abu Dhabi Official #1 ("Shell Company Account #4").

              49.    Between on or about May 29,2012 and December 3,2012,the

defendant JHO LOW and others also transferred via wire approximately $55 million

traceable to the Project Magnolia and Project Maximus bond proceeds from Shell Company

Account #2 to the account of a company at Foreign Financial Institution C beneficially
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owned and controlled by Co-Conspirator #2 and a close relative of Co-Conspirator #2

("Shell Company Account #5").

                  50.   The defendant ROGER NO knew that some ofthe bond proceeds from

Project Maximus were transferred by the defendant JHO LOW or at his request to Holding

Company #1 Account in furtherance ofthe scheme. Thereafter, LOW,NO,Co-Conspirator

#1 and others caused some ofthese funds to be transferred to the accounts of IMDB officials

or relatives ofsuch officials, or to the accounts of shell companies beneficially owned and

controlled by IMDB officials, including IMDB Official #1 and IMDB Official #2,in

exchange for their assistance in obtaining and retaining business for U.S. Financial

Institution #1.


                                    PROJECT CATALYZE

              51.       In or about November 2012, despite having raised over $3 billion in the

prior 11 months, IMDB sought to raise an additional $3 billion through a third bond issuance

known internally at U.S. Financial Institution #1 as "Project Catalyze." This bond issuance

was purportedly designed to fund IMDB's portion ofajoint venture with Foreign Investment

Firm A. U.S. Financial Institution #1 was engaged on the project in or around early 2013

and, again, secured substantial revenues and fees from the deal.

              52.       As they had with the two prior IMDB bond issuances,the defendant

ROGER NG,Co-Conspirator #1 and other employees and agents ofU.S. Financial Institution

#1 continued to work with the defendant JHO LOW as an intermediary between U.S.

Financial Institution #1, IMDB officials, Malaysian Official #1 and other foreign government

officials, and they continued to conceal this fact from the Compliance Group,the Intelligence

Group and committees at U.S. Financial Institution #1. Further, although required by
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internal policies of U.S. Financial Institution #1,the defendant ROGER NG failed to disclose

that he and Co-Conspirator #1 had received a portion ofthe funds diverted from the prior

bond transactions through LOW and that LOW,NG,Co-Conspirator #1 and others had

caused bribes and kickbacks to be paid to IMDB officials and others who were involved in

the transactions.


              53.     The Project Catalyze bond issued on or about March 19,2013. By or

at the direction ofthe defendant JHO LOW,some ofthe approximately $3 billion raised by

this bond issuance was transferred to and through a series oftransactions to Holding

Company #1 Account, which accormt was owned and controlled by Co-Conspirator #1 and

his close relative. These misappropriated and embezzled funds were transferred via wire to

a place in the United States from and through a place outside ofthe United States, and from a

place in the United States to and through a place outside ofthe United States. Some ofthese

funds were further transferred via wire to accounts in the name of entities beneficially owned

and controlled by IMDB officials, including IMDB Official #2 and IMDB Official #3.

More than $4 million ofthese funds were also transferred via wire to a bank account

beneficially owned by a relative of NG.

              54.     Within seven days ofProject Catalyze closing, the defendant JHO LOW

and other co-conspirators caused the transfers via wire of approximately $1.2 billion in funds

traceable to Project Catalyze to a bank account at Foreign Financial Institution D in the name

of another shell company ("Shell Company Account #6")- Within two months ofthe closing

ofProject Catalyze,LOW caused a client account to be opened in the name ofthat shell

company("Shell Company #6") at Art Auction House #1, an auctioneer of high-end artworks

based in New York,New York. In approximately May 2013, at auctions held at Art Auction
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House #1 in New York,New York,LOW acquired five works of art for approximately $58.3

million in the name of Shell Company #6. The following month,LOW caused

approximately $58.3 million in funds traceable to Project Catalyze to be transferred from

Shell Company Account #6 to Art Auction House #1 to purchase the artworks. Between on

or about July 3,2013 and September 9,2013, additional funds traceable to Project Catalyze

totaling approximately $79 million were transferred from Shell Company Account #6 to Art

Auction House #1 to acquire additional artworks.

               55.    Following the closing ofProject Catalyze, through the end of2014,the

defendant ROGER NO,Co-Conspirator #1 and U.S. Financial Institution #1 sought to obtain

and worked to execute several additional transactions with IMDB,particularly focusing on a

proposed initial public offering("IPO")of IMDB's energy assets("IMDB Energy").

Throughout the time period ofthese additional transactions, the defendant JHO LOW and

others, including Co-Conspirator #1, continued to pay bribes and kickbacks to certain

Malaysian and IMDB officials and others, including from the proceeds ofthe Project

Catalyze bond and other IMDB transactions, to influence those officials to award a role for

U.S. Financial Institution #1 in the IPO.


              56.     On or about June 2, 2014, Co-Conspirator #1 and the defendant JHO

LOW discussed, via electronic chat, efforts to win a position for U.S. Financial Institution #1

in the IMDB Energy IPO,including the need to "suck up to" IMDB Official #2 and to send

"cakes," referring to bribes, to "madam boss." In prior email correspondence, the defendant

ROGER NG,LOW and Co-Conspirator #1 referred to the wife of Malaysian Official #1 as

"the Madam." LOW asked Co-Conspirator #1 if he could transfer money from Shell

Account #1 directly into the account of another company incorporated in the British Virgin
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Islands and beneficially owned and controlled by Co-Conspirator #1 and his close relative

("Management Company #1 Account")so that Co-Conspirator #1 could "settle madam

cakes 2."


               57.    The defendant ROGER NG continued his personal relationship with

Co-Conspirator #1 after NG's departure from U.S. Financial Institution #1, and continued to

work with Co-Conspirator #1 on other business ventures.

                                         COUNT ONE
                           (Conspiracy to Violate the FCPA—^Bribery)

               58.    The allegations contained in paragraphs one through 57 are realleged

and incorporated as iffully set forth in this paragraph.

              59.     In or about and between January 2009 and October 2014, both dates

being approximate and inclusive, within the Eastern District of New York and elsewhere, the

defendants LOW TAEK JHO,also known as "Jho Low," and NG CHONG HWA,also

known as "Roger Ng," together with others, did knowingly and willfully conspire to commit

offenses against the United States, namely:

                     (a)      being an employee and agent of an issuer, to corruptly make use

of the mails and means and instrumentalities of interstate commerce in furtherance of an

offer, payment, promise to pay, and authorization of the payment of any money, offer, gift,

promise to give, and authorization ofthe giving of anything of value, to one or more foreign

officials, and to one or more persons, while knowing that all or a portion ofsuch money and

thing of value would be and had been offered, given, and promised to one or more foreign

officials, for purposes of:(i)influencing acts and decisions ofsuch foreign official in his or

her official capacity;(ii) inducing such foreign official to do and omit to do acts in violation
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ofthe lawful duty of such official;(iii) securing any improper advantage; and(iv)inducing

such foreign official to use his or her influence with a foreign government and agencies and

instrumentalities thereofto affect and influence acts and decisions ofsuch government and

agencies and instrumentalities, in order to assist U.S. Financial Institution #1 and others in

obtaining and retaining business, for and with, and directing business to, NG,LOW,U.S.

Financial Institution #1 and others, contrary to the FCPA,Title 15, United States Code,

Sections 78dd-l, 78ff(a) and 78ff(c)(2)(a); and

                    (b)       while in the territory ofthe United States, to corruptly make use

ofthe mails and means and instrumentalities of interstate commerce or to do any other act in

furtherance of an offer, payment, promise to pay, and authorization ofthe payment of any

money, offer, gift, promise to give, and authorization ofthe giving of anything of value, to

one or more foreign officials, and to one or more persons, while knowing that all or a portion

ofsuch money and thing of value would be and had been offered, given, and promised to one

or more foreign officials, for purposes of:(i)influencing acts and decisions of such foreign

official in his or her official capacity;(ii) inducing such foreign official to do and omit to do

acts in violation ofthe lawful duty ofsuch official; (iii) securing any improper advantage;

and (iv)inducing such foreign official to use his or her influence with a foreign government

and agencies and instrumentalities thereof to affect and influence acts and decisions ofsuch

government and agencies and instrumentalities, in order to assist the defendants and others in

obtaining and retaining business, for and with, and directing business to, U.S. Financial

Institution #1,NG,LOW and others, contrary to the FCPA,Title 15, United States Code,

Sections 78dd-3 and 78ff(a).
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              60.    In furtherance ofthe conspiracy and to effect its objects, within the

Eastern District of New York and elsewhere, the defendants LOW TAEK JHO,also known

as "Jho Low," and NG CHONG HWA,also known as "Roger Ng," together with others,

committed and caused to be committed, among others, the following:

                                       OVERT ACTS


                     (a)    On or about March 23, 2012,LOW met with a banker from

Foreign Financial Institution A in Los Angeles, California, during which meeting LOW

explained Project Magnolia and discussed funds from Project Magnolia that would be sent to

Shell Company Accoimt #I at Foreign Financial Institution A.

                    (b)     On or about March 25,2012,LOW,NG,Co-Conspirator #1 and

others met in Los Angeles, California and New York, New York to discuss, among other

things, matters related to Project Magnolia and the acquisition ofthe Malaysian Energy

Company A.

                    (c)     On or about April 21,2012,LOW,NG,Co-Conspirator #1 and

others met with bankers from Foreign Financial Institution A in Singapore and discussed,

among other things, funds from Project Magnolia that would be sent to Shell Company

Account #1 at Foreign Financial Institution A.

                    (d)     On or about May 29, 2012,LOW and others caused

approximately $158 million traceable to the proceeds ofProject Magnolia to be transferred

via wire from Shell Company Account #2 through a U.S. correspondent bank to Shell

Company Accoimt #4.
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                     (e)    On or about December 19,2012,LOW and others caused

approximately $5 million traceable to Project Maximus to be transferred from Shell

Company Account #2 to Holding Company #1 Account.

                     (f)    On or about December 20,2012,LOW,Co-Conspirator #1 and

others caused approximately $1 million traceable to the proceeds ofProject Maximus to be

transferred from Holding Company #1 Account to the bank account, for which LOW had

made the banking referral, of a company beneficially owned and controlled by IMDB

Official #1.


                    (g)     On or about July 22,2013,LOW,Co-Conspirator #1 and others

caused approximately $6 million traceable to the proceeds ofProject Catalyze to be

transferred from Management Company #1 Account to a bank account, for which LOW had

made the banking referral, of an entity beneficially owned and controlled by IMDB Official

#3.


                    (h)     On or about July 29,2013,LOW,Co-Conspirator #1 and others

caused approximately $1 million traceable to the proceeds ofProject Catalyze to be

transferred from Holding Company #1 Account to the account of a company beneficially

owned and controlled by IMDB Official #2.

                    (i)     On or about September 28,2013, at LOW's request, a high-end

New York jeweler CTSl.Y. Jeweler #1") met with LOW,Malaysian Official #1 and the wife

of Malaysian Official #1 at a hotel in New York,New York to show a pink diamond

necklace that N.Y. Jeweler #1 had designed for Malaysian Official #1's wife.

Approximately three weeks earlier, the pink diamond necklace was purchased using
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approximately $27.3 million, which funds were sent from a shell company beneficially

owned and controlled by LOW and other co-conspirators.

                      (j)    On or about October 10, 2014,LOW,Co-Conspirator #1 and

others caused approximately $4.1 million to be transferred via wire from Management

Company #1 Account to the U.S. bank account ofN.Y. Jeweler #1,in part, to pay for certain

gold jewelry for the wife of Malaysian Official #1.

              (Title 18, United States Code, Sections 371 and 3551 et seq.)

                                        COUNT TWO
    (Conspiracy to Violate the FCPA—Circumvention ofInternal Accounting Controls)

              61.     The allegations contained in paragraphs one through 57 are realleged

and incorporated as iffully set forth in this paragraph.

              62.     In or about and between January 2009 and May 2014, both dates being

approximate and inclusive, within the Eastern District ofNew York and elsewhere, the

defendant NG CHONG HWA,also known as "Roger Ng," together with others, did

knowingly and willfully conspire to commit offenses against the United States, namely,to

knowingly and willfully circumvent and cause to be circumvented a system ofinternal

accounting controls at U.S. Financial Institution #1, contrary to the FCPA,Title 15, United

States Code, Sections 78m(b)(2)(B), 78m(b)(5) and 78ff(a).

              63.     In furtherance ofthe conspiracy and to effect its objects, within the

Eastern District of New York and elsewhere,the defendant NG CHONG HWA,also known

as"Roger Ng," together with others, committed and caused to be committed, among others,

the following:
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                                       OVERT ACTS


                     (a)     On or about January 15, 2009, a high-ranking official at

IMDB's predecessor entity, TIA,advised LOW,NG and Co-Conspirator #1 that it was "best

to get[LOW]involve[d] at every stage" of a TIA transaction that was being handled by U.S.

Financial Institution #1.


                     (b)     On or about January 27,2009,NG and Co-Conspirator #1

discussed via email whether to disclose to the Intelligence Group at U.S. Financial Institution

#1 LOW'S involvement in the transaction referenced in Paragraph 63(a), and decided not to

make such disclosure.

                     (c)     During a telephone call in mid to late March 2012, Co-

Conspirator #1 falsely stated to a senior member ofthe Intelligence Group at U.S. Financial

Institution #1 that LOW was not involved in Project Magnolia.

                     (d)     On or about April 3,2012,in response to questioning, Co-

Conspirator #1 falsely told a senior member ofthe Intelligence Group at U.S. Financial

Institution #1 that LOW was not involved in Project Magnolia.

                     (e)     On or about April 4,2012, NG and Co-Conspirator #1 falsely

stated in a committee meeting at U.S. Financial Institution #1 that LOW was not involved in

Project Magnolia other than to set up one meeting with an Abu Dhabi official. The meeting

was attended by committee members and others located in New York,New York using U.S.

Financial Institution #rs telecommunication facilities, which transited through the Eastern

District ofNew York.

                     (f)     On or about October 10, 2012, Co-Conspirator #1 falsely stated

in a committee meeting at U.S. Financial Institution #1 that LOW was not involved in
                                                                                                 29



Project Maximus. The meeting was attended by committee members and others located in

New York, New York using U.S. Financial Institution #l's telecommunication facilities,

which transited through the Eastern District of New York,

                     (g)     On or about April 24,2013, Co-Conspirator #1 falsely stated to

a senior employee of U.S. Financial Institution #1 based in New York, New York who was

also a member of a committee that reviewed the IMDB bond transactions, that there was no

intermediary involved in any ofthe three IMDB bond transactions and,specifically, that

LOW was not involved in Projects Magnolia, Maximus or Catalyze.

           (Title 18, United States Code, Sections 371 and 3551 et seq.I

                                       COUNT THREE
                         (Conspiracy to Commit Money Laundering)

              64.     The allegations contained in paragraphs one through 57 are realleged

and incorporated as iffully set forth in this paragraph.

              65.     In or about and between January 2009 and October 2014, both dates

being approximate and inclusive, within the Eastern District of New York and elsewhere, the

defendants LOW TAEK JHO,also known as "Jho Low," and NG CHONG HWA,also

known as "Roger Ng," together with others, did knowingly and intentionally conspire to:

                     (a)     transport, transmit and transfer monetary instruments and funds

from a place in the United States to and through a place outside the United States and to a

place in the United States from and through a place outside the United States,(i) with the

intent to promote the carrying on of one or more specified unlawful activities, to wit: felony

violations ofthe FCPA,Title 15, United States Code, Sections 78dd-l, 78dd-3,78m(b)(2)(B),

78m(b)(5)and 78ff(a), and offenses against a foreign nation involving the misappropriation.
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theft and embezzlement of public funds by and for the benefit of a public official, in

violation of Malaysian Penal Law,contrary to Title 18, United States Code, Section

1956(a)(2)(A); and (ii) knowing that the monetary instruments and funds involved in the

transportation, transmission and transfer represented the proceeds ofsome form ofunlawful

activity, and knowing that such transportation, transmission and transfer was designed in

whole and in part to conceal and disguise the nature, location, source, ownership and control

ofthe proceeds of one or more specified unlawful activities, to wit: felony violations ofthe

FCPA,Title 15, United States Code, Sections 78dd-l, 78dd-3, 78m(b)(2)(B), 78m(b)(5) and

78ff(a), and offenses against a foreign nation involving the misappropriation, theft and

embezzlement of public funds by and for the benefit ofa public official, in violation of

Malaysian Penal Law,contrary to Title 18, United States Code, Section 1956(a)(2)(B)(i); and

                     (b)     engage in one or more monetary transactions within the United

States involving property of a value greater than $10,000 that was derived from one or more

specified unlawful activities, to wit: felony violations ofthe FCPA,Title 15,United States

Code, Sections 78dd-l, 78dd-3, 78m(b)(2)(B),78m(b)(5) and 78ff(a), and offenses against a

foreign nation involving the misappropriation, theft and embezzlement of public funds by

and for the benefit of a public official, in violation of Malaysian Penal Law,knowing that the

funds were the proceeds ofsome unlawful activities and were in fact proceeds of one or more

specified unlawful activities, to wit: felony violations ofthe FCPA,Title 15, United States

Code, Sections 78dd-l, 78dd-3,78m(b)(2)(B), 78m(b)(5)and 78ff(a), and offenses against a

foreign nation involving the misappropriation, theft and embezzlement ofpublic funds by
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and for the benefit of a public official, in violation of Malaysian Penal Law,contrary to Title

18, United States Code, Section 1957(a).

              (Title 18, United States Code, Sections 1956(h) and 3551 et seq.l

      CRIMINAL FORFEITURE ALLEGATION AS TO COUNTS ONE AND TWO

               66.    The United States hereby gives notice to the defendants that, upon their

conviction ofthe offense charged in Count One or Count Two,the government will seek

forfeiture in accordance with Title 18, United States Code, Section 981(a)(1)(C) and Title 28,

United States Code, Section 2461(c), which require any person convicted ofsuch offenses to

forfeit any property, real or personal, constituting, or derived from,proceeds obtained

directly or indirectly as a result ofsuch offenses.

              67.     If any ofthe above-described forfeitable property, as a result of any act

or omission of the defendants:

                      (a)     cannot be located upon the exercise of due diligence;

                      (b)     has been transferred or sold to, or deposited with, a third party;

                     (c)      has been placed beyond the jurisdiction ofthe court;

                      (d)     has been substantially diminished in value; or

                      (e)     has been commingled with other property which cannot be

divided without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p),

to seek forfeiture of any other property of the defendants up to the value of the forfeitable

property described in this forfeiture allegation.

              (Title 18, United States Code, Section 981(a)(1)(C); Title 28, United States

Code,Section 2461(c))
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            CRIMINAL FORFEITURE ALLEGATION AS TO COUNT THREE


              68.     The United States hereby gives notice to the defendants that, upon their

conviction ofthe offense charged in Count Three,the government will seek forfeiture in

accordance with Title 18, United States Code, Section 982(a)(1), which requires any person

convicted ofsuch offense to forfeit any property, real or personal, involved in such offense,

or any property traceable to such property.

              69.     If any ofthe above-described forfeitable property, as a result of any act

or omission ofthe defendants:


                     (a)      cannot be located upon the exercise of due diligence;

                     (b)      has been transferred or sold to, or deposited with, a third party;

                     (c)      has been placed beyond the jurisdiction ofthe court;

                     (d)      has been substantially diminished in value; or

                     (e)      has been commingled with other property which cannot be

divided without difficulty;

it is the intent ofthe United States, pursuant to Title 21, United States Code, Section 853(p),

as incorporated by Title 18, United States Code, Section 982(b),to seek forfeiture of any
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 other property ofthe defendants, up to the value ofthe forfeitable property described in this
forfeiture allegation.

              (Title 18,United States Code,Sections 9B2(a)(i) and 982(b); Title 21,Uuited
States Code,Section 853(p))


                                                                A TRUE BILL




                                                                FOREPERSON



 {hdU,u\J) p.
RICHARD P.DONOGHUE
UNITED STATES ATTORNEY
EASTERN DISTRICT OF NEW YORK




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CRIMINAL DIVISION,FRAUD SECTION
U.S.DEPARTMENT OF JUSTICE
FM:2016R00467

FORM DBD.34     No.
JUN. 85


                       UNITED STATES DISTRICT COURT
                                     EASTERN District of NEW YORK
                                             CRIMINAL DIVISION

                             THE UNITED STATES OF AMERICA
                                                         VS.




                  LOWTAEKJHO, ALSO KNOWN AS "JHO LOW." AND NO CHONG
                           HWA, ALSO KNOWN AS "ROGER NG,"
                                                                                        Defendants.



                                               INDICTMENT
                (T. 18, U.S.C., §§ 371,981(a)(1)(C), 982(a)(1), 982(b), 1956(h)and 3551
                                 T. 21, U.S.C.,§ 853(p); T. 28, U.S.C., § 2461(c))

                      A true bill.



                                                                      I             I      Foreperson

                Filed in open court this

                of                         A.D.20_


                                                                                                Clerk



                Bail, $



                      Jacquefyn M.Kasulis, Drew G. Rolle, Assistant U.S. Attorneys,(718)254-7000
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